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   10   ISLAND INDUSTRIES, INC.
   11
   12                      UNITED STATES DISTRICT COURT
   13                    CENTRAL DISTRICT OF CALIFORNIA
   14
   15   UNITED STATES OF AMERICA ex                  Case No. 2:17-cv-04393-RGK-KS
        rel. ISLAND INDUSTRIES, INC.,
   16                                                JOINT STIPULATION OF
                       Plaintiffs,                   DISMISSAL OF DEFENDANT
   17                                                ANVIL INTERNATIONAL, LLC
              v.
   18                                                Dept: 850
        VANDEWATER INTERNATIONAL                     Judge: Hon. Gary Klausner
   19   INC., et al.,
   20                     Defendants.
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                     JOINT STIPULATION OF DISMISSAL OF DEFENDANT ANVIL INTERNATIONAL, LLC;
                                                               CASE NO. 2:17-CV-04393-RGK-KS
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    1         Under Fed.R.Civ.P. 41(a)(1), Plaintiff-Relator Island Industries, Inc.
    2   (“Island”), and Defendants Vandewater International, Inc., Anvil International, LLC
    3   (“Anvil”), Smith Cooper International, and Sigma Corporation hereby stipulate to
    4   the dismissal of all the claims in this action (“this Action”) against Anvil, under the
    5   following conditions:
    6      1. Such dismissal shall be with prejudice as to Island;
    7      2. Such dismissal shall be without prejudice as to the United States;
    8      3. Island shall bear its own attorneys’ fees, expenses and costs related to this
    9         Action;
   10      4. Neither this Stipulation nor the dismissal of the claims against Anvil shall act
   11         to release Island or its, successors, attorneys, agents, or assigns from any
   12         claims, known or unknown, present or future, related to this Action held by
   13         Anvil;
   14      5. Anvil retains the right to seek the recovery of its attorneys’ fees, expenses and
   15         costs related to this Action from Island and its, successors, attorneys, agents,
   16         or assigns, pursuant but not limited to, 31 U.S.C. 3730(d)(4), 28 U.S.C. 1927,
   17         and Fed.R.Civ.P. 54(d)(1) & (2), and the Court’s inherent authority;
   18      6. Following dismissal of the claims against Anvil, the Court shall retain
   19         jurisdiction to hear any motions by Anvil for attorneys’ fees, expenses and
   20         costs, pursuant but not limited to, 31 U.S.C. 3730(d)(4), 28 U.S.C. 1927,
   21         Fed.R.Civ.P. 54(d)(1) & (2), and the Court’s inherent authority;
   22      7. On March 18, 2020, Anvil moved to amend its Answer to add counterclaims
   23         against Island alleging violations of, inter alia, 18 U.S.C. 1836(b), TENN.
   24         CODE. ANN. 47-25-1701, et seq, and TENN. CODE. 47-25-1705; and,
   25      8. Following dismissal of the claims against Anvil, the Court shall retain
   26         jurisdiction to hear Anvil’s motion to amend its Answer, as well as any related
   27         motions, and should such motion(s) be granted, the Court retains authority to
   28         hear Anvil’s counterclaims against Island as part of this Action.
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                        JOINT STIPULATION OF DISMISSAL OF DEFENDANT ANVIL INTERNATIONAL, LLC;
                                                                  CASE NO. 2:17-CV-04393-RGK-KS
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    1         Pursuant to 31 U.S.C. § 3730(b)(1), the United States hereby consents to the
    2   dismissal of the claims in this action against Anvil International, LLC, so long as
    3   dismissal is without prejudice to the United States.
    4
    5   Dated: March 18, 2020                  MAYER BROWN LLP
    6
                                               /s/ Matthew H. Marmolejo
    7                                          Kelly B. Kramer
    8                                          Matthew H. Marmolejo
                                               C. Mitchell Hendy
    9                                          Attorneys for Plaintiff-Relator
                                               ISLAND INDUSTRIES, INC.
   10
   11                                          U.S. DEPARTMENT OF JUSTICE

   12                                          /s/ Jennifer Chorpening
   13                                          Jennifer Chorpening
                                               Attorneys for Plaintiff
   14                                          UNITED STATES OF AMERICA

   15
                                               KING AND SPALDING LLP U.S.
   16
   17                                          /s/ J. Michael Taylor
                                               J. Michael Taylor
   18                                          Attorneys for Defendant
                                               ANVIL INTERNATIONAL LLC
   19
                                               WHITE & CASE LLP
   20
   21                                          /s/ Lucius B. Lau
                                               Lucius B. Lau
   22                                          Attorneys for Defendant
                                               SIGMA CORPORATION
   23
   24                                          FAGRE DRINKER BIDDLE LLP
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                                               /s/ Ryan Matthew Salzman
   26                                          Ryan Matthew Salzman
                                               Attorneys for Defendants
   27                                          VANDEWATER INTERNATIONAL INC.
                                               AND NEIL REUBENS
   28
                                                 -2-
                      JOINT STIPULATION OF DISMISSAL OF DEFENDANT ANVIL INTERNATIONAL, LLC;
                                                                CASE NO. 2:17-CV-04393-RGK-KS
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                                             BAKER MARQUART LLP
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    3                                        /s/ Brian E. Klein
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    4                                        Attorneys for Defendant
                                             SMITH-COOPER INTERNATIONAL,
    5                                        INC.
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                     JOINT STIPULATION OF DISMISSAL OF DEFENDANT ANVIL INTERNATIONAL, LLC;
                                                               CASE NO. 2:17-CV-04393-RGK-KS
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    1                                    ATTESTATION
    2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I hereby attest that the content of this
    3   document is acceptable to counsel for plaintiff, Jennifer Chorpening, and counsel
    4   for all defendants including, J. Michael Taylor, Lucius B. Lau, Ryan Matthew
    5   Salzman, and Brian E. Klein, and that each has authorized the filing.
    6
                                               /s/ Matthew H. Marmolejo
    7                                          Matthew H. Marmolejo
    8                                          Attorneys for Plaintiff-Relator
                                               ISLAND INDUSTRIES, INC.
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                      JOINT STIPULATION OF DISMISSAL OF DEFENDANT ANVIL INTERNATIONAL, LLC;
                                                                CASE NO. 2:17-CV-04393-RGK-KS
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   1                                 PROOF OF SERVICE
   2         I, Alexus Payton, declare:
   3         I am employed in Los Angeles County, California. I am over the age of
   4   eighteen years and not a party to the within-entitled action. My business address is
   5   Mayer Brown LLP, 350 South Grand Avenue, 25th Floor, Los Angeles, California
   6   90071-1503. On March 18, 2020, I served a copy of the within document(s):
   7        JOINT STIPULATION OF DISMISSAL OF DEFENDANT ANVIL
   8                       INTERNATIONAL, LLC
   9
                    by transmitting via e-mail or electronic transmission the document(s)
  10              listed above to the person(s) at the e-mail address(es) set forth below.
  11
                                  SEE ATTACHED SERVICE LIST
  12
             I declare under penalty of perjury under the laws of the United States of
  13
       America that the above is true and correct.
  14
             Executed on March 18, 2020, at Los Angeles, California.
  15

  16
                                                     s/Alexus Payton
  17
                                                     Alexus Payton
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                                               PROOF OF SERVICE, CASE NO. 2:17-CV-04393-RGK-KS
Case 2:17-cv-04393-RGK-KS Document 165 Filed 03/18/20 Page 7 of 8 Page ID #:2015



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  23
       [BY U.S. MAIL ONLY]
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                                               PROOF OF SERVICE, CASE NO. 2:17-CV-04393-RGK-KS
